Case 1:18-cv-03015-JRS-MJD Document 345-1 Filed 01/27/22 Page 1 of 1 PageID #: 5069




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


   JANE DOE 1,                                  )
                                                )
           Plaintiffs,                          )      Case No. 1:18-cv-3015-JRS-MJD
                                                )
   vs.                                          )
                                                )
   USA DIVING, INC.,                            )
   INDIANA DIVING ACADEMY, INC.,                )
   d/b/a RIPFEST, JOHN WINGFIELD,               )
   JOHEL RAMIREZ SUAREZ, and                    )
   ARCADIA CHURCH EVENTS &                      )
   SPORTS, LLC,                                 )
                                                )
           Defendants.                          )

                         ORDER OF DISMISSAL WITH PREJUDICE OF
                                  PLAINTIFF JANE DOE

           Plaintiff Jane Doe 1 and Defendants Indiana Diving Academy, Inc. d/b/a Ripfest, John

   Wingfield, Johel Ramirez Suarez, and Arcadia Church Events & Sports, LLC, by their respective

   counsel, having filed their Stipulation for Dismissal With Prejudice of Plaintiff Jane Doe 1, and

   the Court being otherwise duly advised,

           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that this matter and all

   claims regarding, brought by and as to Plaintiff Jane Doe 1 are hereby DISMISSED WITH

   PREJUDICE, with each party to bear its own attorneys’ fees and costs.

           SO ORDERED.

   Date:
                                                JAMES R. SWEENEY II, JUDGE
                                                United States District Court
                                                Southern District of Indiana


   Served electronically on all ECF-registered counsel of record.
